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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X ECF CASE
UNITED STATES OF AMERICA                             )
                                                     ) NOTICE OF APPEARANCE AND REQUEST
         v.                                          ) FOR ELECTRONIC NOTIFICATION
                                                     ) 18 Cr. 224 (AJN)
ALI SADR HASHEMI NEJAD, et al.,                      )
                                                     )
                           Defendants.               )
-----------------------------------------------------X
TO: Clerk of Court
         United States District Court
         Southern District of New York

The undersigned attorney respectfully requests the Clerk to note his appearance in this case
and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted in this
case.

                                                                Respectfully submitted,
                                                                GEOFFREY S. BERMAN
                                                                United States Attorney for the
                                                                Southern District of New York
                                                            by: _____/s/_________________
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TO: Counsel of Record (via ECF)
